  Case 1:20-cv-01900-JMS-TAB Document 1-2 Filed 07/17/20 Page 1 of 3 PageID #: 11


                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION

EARL OWENS,                                               )
                                                          ) Cause No. 1:20-cv-1900
                Plaintiff,                                )
                                                          )
        v.                                                )
                                                          )
CONSOLIDATED CITY OF INDIANAPOLIS                         )
AND MARION COUNTY,                                        )
OFFICER MATTHEW MCFADDEN, and                             )
HAROLD BLAKE,                                             )
                                                          )
                Defendants.                               )

                                       SUMMONS IN A CIVIL ACTION

TO:     Consolidated City of Indianapolis and Marion County
        c/o Office of the Mayor
        200 E. Washington Street, Room 2501
        Indianapolis, IN 46204


        A lawsuit has been filed against you. Within 21 days after service of this summons on you (not counting
the day you received it) or 60 days if you are the United States or a United States agency, or an officer or employee
of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) C you must serve on the plaintiff an answer to the
attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must
be served on the plaintiff or plaintiff’s attorney, whose name and address are:

                                                  Andrea Ciobanu, Attorney #28942-49
                                                  CIOBANU LAW, P.C.
                                                  902 E. 66th Street
                                                  Indianapolis, IN 46220

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.


                                                          CLERK OF COURT



Date: ______________________                              _______________________________________
                                                          Signature of Clerk or Deputy Clerk
  Case 1:20-cv-01900-JMS-TAB Document 1-2 Filed 07/17/20 Page 2 of 3 PageID #: 12


                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION

EARL OWENS,                                               )
                                                          ) Cause No. 1:20-cv-1900
                Plaintiff,                                )
                                                          )
        v.                                                )
                                                          )
CONSOLIDATED CITY OF INDIANAPOLIS                         )
AND MARION COUNTY,                                        )
OFFICER MATTHEW MCFADDEN, and                             )
HAROLD BLAKE,                                             )
                                                          )
                Defendants.                               )

                                       SUMMONS IN A CIVIL ACTION

TO:     Matthew McFadden
        c/o Indianapolis Metropolitan Police Department
        50 N. Alabama St.
        Indianapolis, IN 46204

        A lawsuit has been filed against you. Within 21 days after service of this summons on you (not counting
the day you received it) or 60 days if you are the United States or a United States agency, or an officer or employee
of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) C you must serve on the plaintiff an answer to the
attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must
be served on the plaintiff or plaintiff’s attorney, whose name and address are:

                                                  Andrea Ciobanu, Attorney #28942-49
                                                  CIOBANU LAW, P.C.
                                                  902 E. 66th Street
                                                  Indianapolis, IN 46220

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.


                                                          CLERK OF COURT



Date: ______________________                              _______________________________________
                                                          Signature of Clerk or Deputy Clerk
  Case 1:20-cv-01900-JMS-TAB Document 1-2 Filed 07/17/20 Page 3 of 3 PageID #: 13


                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION

EARL OWENS,                                               )
                                                          ) Cause No. 1:20-cv-1900
                Plaintiff,                                )
                                                          )
        v.                                                )
                                                          )
CONSOLIDATED CITY OF INDIANAPOLIS                         )
AND MARION COUNTY,                                        )
OFFICER MATTHEW MCFADDEN, and                             )
HAROLD BLAKE,                                             )
                                                          )
                Defendants.                               )

                                       SUMMONS IN A CIVIL ACTION

TO:     Harold Blake
        4203 Indian Bayou Trail, #1315
        Destin, FL 32541

        A lawsuit has been filed against you. Within 21 days after service of this summons on you (not counting
the day you received it) or 60 days if you are the United States or a United States agency, or an officer or employee
of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) C you must serve on the plaintiff an answer to the
attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must
be served on the plaintiff or plaintiff’s attorney, whose name and address are:

                                                  Andrea Ciobanu, Attorney #28942-49
                                                  CIOBANU LAW, P.C.
                                                  902 E. 66th Street
                                                  Indianapolis, IN 46220

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.


                                                          CLERK OF COURT



Date: ______________________                              _______________________________________
                                                          Signature of Clerk or Deputy Clerk
